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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:16-cv-02210-AG-KESx                                           Date: March 13, 2018

 Title: KAYLEE BROWNING, et al. v. UNILEVER UNITED STATES, INC.


 PRESENT:

             THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE

                 Jazmin Dorado                                     Not Present
                Courtroom Clerk                                    Court Reporter

         ATTORNEYS PRESENT FOR                            ATTORNEYS PRESENT FOR
              PLAINTIFFS:                                      DEFENDANT:
              None Present                                      None Present



          PROCEEDINGS (IN CHAMBERS):                   ORDER re Supplemental Memoranda
                                                      Concerning Plaintiffs’ Motion to Compel
                                                        Production of Documents (Dkt. 49)

         On March 9, 2018, Plaintiffs filed a motion (the “Motion”) seeking “a schedule, with
 concrete dates, by which Defendant shall be required to complete its document production.”
 (Dkt. 49-3 [Joint Stipulation or “JS”] at 4.) Plaintiffs noticed the Motion for hearing on April 3,
 2018, and request that the Court order Defendant to complete its production by April 6, 2018.
 (JS at 1, 4.) Defendant disputes that “hard [production] deadlines are necessary now that review
 … is underway,” stating Defendant “will continue making its rolling productions.” (JS at 8.) If,
 however, “the Court must set a deadline,” then Defendant suggests April 27, 2018. (Id.)

        Local Rule 37-2.3 provides that “each party may file a [five page] supplemental
 memorandum of law not later than fourteen (14) days prior to the hearing date” on a discovery
 motion. Because the parties disagree about the timeline of Defendant’s rolling production, the
 Court extends Local Rule 37-2.3’s deadline until March 30, 2018, so that the parties can file
 supplemental briefing directly prior to the Motion’s hearing addressing the status of that
 production. That briefing shall describe which portions of Defendant’s production are complete
 and which remain outstanding. Defendant is encouraged to allocate sufficient resources to its
 document review so that it can report that few (if any) records are outstanding.



                                                                        Initials of Deputy Clerk JD
